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       EXHIBIT A
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                                                                                                                                                                                       Cortes, et al. v. Juqila Mexican Cuisine Corp., et al. - 17 Civ. 03942 (RER)
                                                                                                                                                                                                                Privileged and Confidential
                                                                                                                                                                                                     For Settlement Purposes Only, Pursuant to FRE 408
                                                        Period                                            Estimate of                    Full                                                                                     Customer                                                                                                                                         TOTAL*
                                                                                  Number    Plaintiff's                        Full                              Minimum Overtime Spread of             Total                                                                                                                 Sex
                                                                                                            Actual    Hours            Overtime      Hourly                                                                       Walk-outs Estimated Tip    Estimated Tip    Federal   New York      NYLL                                Total
                                                                         Weeks in of Days   Scheduled                        Minimum                              Wages    Wages   Hours Pay           Wages         Uniform                                                                                     WTPA   Discrimination                 Total Due to
    Plaintiff       Shift(s) Worked Per Week                                                                Hours     Shaved            Hourly      Wage Rate                                                                       and    Misappropriation Misappropriation Liquidated Liquidated   Interest                          Damages Per
                                                   From          To       Period Per Week   Hours Per                         Hourly                             Owed Per Owed Per Owed Per           Owed Per      Deductions                                                                                  Damages  Liquidated                      Plaintiff                 $252,123.48
                                                                                                            Worked Per Week            Wage Rate      Paid                                                                        Returned    Per Week         Per Period     Damages    Damages       Due                               Period
                                                                                  Worked      Week                           Wage Rate                            Week     Week     Period             Period                                                                                                              Damages
                                                                                                           Per Week                      Due                                                                                       Items
                   Overnight                       1/1/16    4/15/16          15        6       42             51.00     9.00     $9.00    $13.50        $4.50     $180.00   $139.50                    $4,792.50        $90.00     $360.00     $220.00         $5,720.00      $4,792.50   $4,792.50 $1,379.40 $5,000.00   $1,389.00      $23,523.40       $36,812.40 *Attorneys' fees and costs not included
 Pamella Cortes Daytime &/or Evening              4/16/16    6/30/16           4        6       42             51.00     9.00     $9.00    $13.50        $4.50     $180.00   $139.50                    $1,278.00                               $220.00                        $1,278.00   $1,278.00           $5,000.00                   $7,556.00                                  in total.
                 Double Shifts during 4/16/16-6/30/16 period                   7        6       51             60.00     9.00     $9.00    $13.50        $4.50     $180.00   $220.50        $63.00      $2,866.50                               $220.00                        $2,803.50   $2,866.50                                       $5,733.00
                 Daytime                           9/15/15 9/29/15             2        5       40             47.50     7.50     $8.75    $13.13        $4.50     $170.00    $98.44                      $536.88       $130.00     $450.00     $195.00        $14,400.00        $536.88     $536.88 $2,997.50 $5,000.00   $3,312.00      $27,363.25       $75,507.13
                 Overnight                         9/30/15 10/31/15            4        6       42             51.00     9.00     $8.75    $13.13        $4.50     $170.00   $135.38                    $1,221.50                               $220.00                        $1,221.50   $1,221.50           $5,000.00                   $7,443.00
                 Overnight                         11/1/15 12/31/15            5        7       49             59.50    10.50     $8.75    $13.13        $4.50     $170.00   $215.44                    $1,927.19                               $255.00                        $1,927.19   $1,927.19                                       $3,854.38
Leticia Gonzalez Overnight                          1/1/16    4/1/16          13        7       49             59.50    10.50     $9.00    $13.50        $4.50     $180.00   $222.75                    $5,235.75                               $255.00                        $5,235.75   $5,235.75                                      $10,471.50
                 Overnight                          4/2/16 10/31/16           30        6       42             51.00     9.00     $9.00    $13.50        $4.50     $180.00   $139.50                    $9,585.00                               $230.00                        $9,585.00   $9,585.00                                      $19,170.00
                 Overnight + Cashier               11/1/16 12/10/16            7        6      42.5            51.50     9.00     $9.00    $13.50        $1.99     $280.47   $150.28        $63.00      $3,078.25                               $205.00                        $3,015.25   $3,078.25                                       $6,156.50
                 Overnight + Cashier              12/13/16 12/17/16            1        6      42.5            51.50     9.00     $9.00    $13.50        $0.00     $360.00   $155.25         $9.00        $524.25                               $205.00                          $515.25     $524.25                                       $1,048.50
                 Daytime                            7/1/16 11/30/16           12        5       40             47.50     7.50     $9.00    $13.50        $4.50     $180.00   $101.25                    $3,375.00       $100.00     $300.00     $195.00         $5,985.00      $3,375.00   $3,375.00   $987.84 $5,000.00   $1,424.50      $20,547.34       $36,987.34
                 Daytime &/or Evening during 7/1/16 to 11/30/16 period         9        6       42             51.00     9.00     $9.00    $13.50        $4.50     $180.00   $139.50        $81.00      $2,956.50                               $220.00                        $2,875.50   $2,956.50           $5,000.00                  $10,913.00
                 Overnight                         12/1/16 12/31/16            2        5       35             42.50     7.50     $9.00    $13.50        $4.50     $202.50    $33.75                      $472.50                               $195.00                          $472.50     $472.50                                         $945.00
 Ariana Reyes
                 Double Shifts during 12/1/16-12/31/16 period                  2        6       72             81.00     9.00     $9.00    $13.50        $4.50     $180.00   $409.50        $18.00      $1,197.00                               $230.00                        $1,224.00   $1,197.00                                       $2,394.00
                 Overnight                          1/1/17 2/22/17             3        4       35             41.00     6.00    $11.00    $16.50        $4.50     $282.50    $16.50                      $897.00                               $195.00                          $897.00     $897.00                                       $1,794.00
                 Overnight                         2/23/17    3/1/17           1        3       21             25.50     4.50    $11.00    $16.50        $4.50     $186.00     $0.00        $11.00        $197.00                               $230.00                          $186.00     $197.00                                         $394.00
                 Daytime                           9/19/16 9/26/16             1        5       40             47.50     7.50     $9.00    $13.50        $4.50     $180.00   $101.25                      $281.25        $95.00      $80.00     $195.00         $6,355.00        $281.25     $281.25   $794.13 $5,000.00   $1,424.50       $6,531.63       $31,776.63
                 Daytime &/or Evening              9/27/16 10/31/16            5        6       42             51.00     9.00     $9.00    $13.50        $4.50     $180.00   $139.50                    $1,597.50                               $220.00                        $1,597.50   $1,597.50           $5,000.00                   $8,195.00
  Lucia Rivera
                 Overnight                         11/1/16 12/31/16            9        6       42             51.00     9.00     $9.00    $13.50        $4.50     $180.00   $139.50        $27.00      $2,902.50                               $230.00                        $2,875.50   $2,902.50                                       $5,805.00
                 Overnight                          1/1/17    4/1/17          13        6       42             51.00     9.00    $11.00    $16.50        $4.50     $260.00   $172.50                    $5,622.50                               $230.00                        $5,622.50   $5,622.50                                      $11,245.00
                     Calculated using records      6/7/16 6/30/16              3        6       40             49.00     9.00     $9.00    $13.50        $4.50     $180.00   $121.50                      $904.50       $100.00     $310.00     $220.00        $13,035.00        $904.50     $904.50 $1,668.48 $5,000.00   $3,131.50      $25,053.98       $71,039.98
                    submitted as Exhibits 1&2      7/1/16 9/25/16             12        5       40             47.50     7.50     $9.00    $13.50        $4.50     $180.00   $101.25         $9.00      $3,384.00                               $195.00                        $3,375.00   $3,384.00           $5,000.00                  $11,768.00
                                                  9/26/16 10/2/16              1        6       43             52.00     9.00     $9.00    $13.50        $4.50     $180.00   $135.00                      $315.00                               $220.00                          $315.00     $315.00                                         $630.00
                                                  10/3/16 12/4/16              9        6       46             55.00     9.00     $9.00    $13.50        $4.50     $180.00   $148.50                    $2,956.50                               $220.00                        $2,956.50   $2,956.50                                       $5,913.00
                                                  12/5/16 12/11/16             1        5       40             47.50     7.50     $9.00    $13.50        $4.50     $180.00   $101.25                      $281.25                               $195.00                          $281.25     $281.25                                         $562.50
                                                 12/12/16 12/25/16             2        6       48             57.00     9.00     $9.00    $13.50        $4.50     $180.00   $157.50                      $675.00                               $220.00                          $675.00     $675.00                                       $1,350.00
                                                 12/26/16   1/1/17             1        6       55             64.00     9.00     $9.00    $13.50        $4.50     $180.00   $189.00         $9.00        $378.00                               $220.00                          $369.00     $378.00                                         $756.00
                                                   1/2/17   1/8/17             1        6       46             55.00     9.00    $11.00    $16.50        $4.50     $260.00   $181.50                      $441.50                               $220.00                          $441.50     $441.50                                         $883.00
                                                   1/9/17 1/15/17              1        6       43             52.00     9.00    $11.00    $16.50        $4.50     $260.00   $165.00                      $425.00                               $220.00                          $425.00     $425.00                                         $850.00
                                                  1/16/17 1/22/17              1        5       32             39.50     7.50    $11.00    $16.50        $4.50     $290.50     $0.00                      $290.50                               $195.00                          $290.50     $290.50                                         $581.00
                                                  1/23/17   2/5/17             2        6       46             55.00     9.00    $11.00    $16.50        $4.50     $260.00   $181.50                      $883.00                               $220.00                          $883.00     $883.00                                       $1,766.00
                                                   2/6/17 2/12/17              1        5       38             45.50     7.50    $11.00    $16.50        $4.50     $269.00    $90.75                      $359.75                               $195.00                          $359.75     $359.75                                         $719.50
                                                  2/13/17 2/19/17              1        6       50             59.00     9.00    $11.00    $16.50        $4.50     $260.00   $203.50        $11.00        $474.50                               $220.00                          $463.50     $474.50                                         $949.00
  Blanca Nelly
                                                  2/20/17 2/26/17              1        5       40             47.50     7.50    $11.00    $16.50        $4.50     $260.00   $123.75                      $383.75                               $195.00                          $383.75     $383.75                                         $767.50
     Ayala
                                                  2/27/17 3/12/17              2        6       44             53.00     9.00    $11.00    $16.50        $4.50     $260.00   $170.50                      $861.00                               $220.00                          $861.00     $861.00                                       $1,722.00
                                                  3/13/17 3/19/17              1        5       36             43.50     7.50    $11.00    $16.50        $4.50     $278.00    $57.75                      $335.75                               $195.00                          $335.75     $335.75                                         $671.50
                                                  3/20/17 3/26/17              1        6       51             60.00     9.00    $11.00    $16.50        $4.50     $260.00   $209.00        $11.00        $480.00                               $220.00                          $469.00     $480.00                                         $960.00
                                                  3/27/17   4/2/17             1        6       44             53.00     9.00    $11.00    $16.50        $4.50     $260.00   $170.50                      $430.50                               $220.00                          $430.50     $430.50                                         $861.00
                                                   4/3/17 5/21/17              7        6       42             51.00     9.00    $11.00    $16.50        $4.50     $260.00   $159.50        $11.00      $2,947.50                               $220.00                        $2,936.50   $2,947.50                                       $5,895.00
                                                  4/10/17 4/16/17              1        6       44             53.00     9.00    $11.00    $16.50        $4.50     $260.00   $170.50                      $430.50                               $220.00                          $430.50     $430.50                                         $861.00
                                                  4/17/17 4/23/17              1        6       42             51.00     9.00    $11.00    $16.50        $4.50     $260.00   $159.50                      $419.50                               $220.00                          $419.50     $419.50                                         $839.00
                                                  4/24/17 5/21/17              4        6       42             51.00     9.00    $11.00    $16.50        $4.50     $260.00   $159.50                    $1,678.00                               $220.00                        $1,678.00   $1,678.00                                       $3,356.00
                                                  5/22/17   6/4/17             2        5       34             41.50     7.50    $11.00    $16.50        $4.50     $287.00    $24.75                      $623.50                               $195.00                          $623.50     $623.50                                       $1,247.00
                                                   6/5/17 6/11/17              1        4       27             33.00     6.00    $11.00    $16.50        $7.50     $160.50     $0.00                      $160.50                               $170.00                          $160.50     $160.50                                         $321.00
                                                  6/12/17 6/18/17              1        4       36             42.00     6.00    $11.00    $16.50        $7.50     $170.00    $33.00                      $203.00                               $170.00                          $203.00     $203.00                                         $406.00
                                                  6/19/17   7/2/17             2        4       33             39.00     6.00    $11.00    $16.50        $7.50     $181.50     $0.00                      $363.00                               $170.00                          $363.00     $363.00                                         $726.00
                                                   7/3/17 7/16/17              2        3      30.5            35.00     4.50    $11.00    $16.50        $7.50     $156.25     $0.00                      $312.50                               $145.00                          $312.50     $312.50                                         $625.00
